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UNITED sTATEs oF AMERICA, ) E§§)E§Eii t;_“,=-';‘. r: .<,~~f: @-r
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)
v. ) No. 04-20474 D
)
KATHERINE sUE PRATT, )
)
Defendants )

 

ORDER

 

Before the Court is Defendant Katherine Sue Pratt’s Motion for Speedy Trial and
Appointment of Counsel or alternatively for Dismissal of this Cause filed on April 18, 2005. On
April 27, 2005 United States Magistrate Judge Tu M. Pham appointed counsel for Ms. Pratt.
Additionally, the Court has spoken With MS. Pratt’s appointed counsel, and counsel has advised
the Court the instant Motion is moot. Therefore, the Motion for Speedy Trial and Appointment
of Counsel or alternatively for Dismissal of this Cause is DENIED.

IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE .TUDGE

Date: 2; 267 0\§/' ZQ:>¢"

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UNITED sATE DsTllC COURT - WE'T'RN DIsTRCT OFTENNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 2:04-CR-20474 Was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

